Case 1:05-cr-10041-.]DT Document 16 Filed 08/03/05 Page 10f2 Page|D/Ci?

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vs. cr.1=05-1004i-01~T
ALEX LOUIS,

aka Bobby Stone,

Defendant.

ORDER ON CHANGE OF PLEA
This cause came on to be heard on August 2, 2005,
Assistant U. S. Attorney James Powell, appearing for the
government, and the defendant appeared in person and with counsel,
Dianne Smothers, Assistant Federal Defender.
With leave of the Court, the defendant Withdrew the Not
Guilty Plea heretofore entered and entered a plea of GUILTY as
charged in the one count Indictment.
This case has been set for sentencing on WEDNESDAY[
OCTOBER 26, 2005 AT 8:30 a.m.
The defendant is remanded to the custody of the U.S.
Marshal.

IT IS SO ORDERED.

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J S D. TODD
TED STATES DISTRICT JUDGE

DATE; 3 WM/

Thls document entered on the docket sheet In compliance
with Rule 55 andlor 32(b) FRCrP on

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J ames W. PoWell

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Honorable J ames Todd
US DISTRICT COURT

